 EXHIBIT B

Proposed Order
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )


         ORDER (I) AUTHORIZING THE RETENTION AND EMPLOYMENT OF
       DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS
      EFFECTIVE AS OF PETITION DATE, AND (II) GRANTING RELATED RELIEF

             Upon consideration of the application (the “Application”) 2 of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”), for entry of an order pursuant to sections

105(a), 327(a), and 328(a) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local

Rules 2014-1 and 2016-2, authorizing the retention and employment of Ducera as investment

banker to the Debtors in accordance with the terms and conditions set forth in the Engagement

Letter dated effective as of February 6, 2023; and upon the Kaldenberg Declaration; and the Court

being satisfied, based on the representations made in the Application and the Kaldenberg

Declaration, that Ducera and its professionals are “disinterested” as such term is defined in section

101(14) of the Bankruptcy Code, and neither hold nor represent any interest adverse to the Debtors’

estates; and the Court having jurisdiction to consider the Application and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

the United States District for the District of Delaware, dated February 29, 2012 (Sleet, C.J.); and


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
      Application.
consideration of the Application and the requested relief being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and due and proper notice of the Application having been given, and it appearing that no

other or further notice need be provided; and the Court having reviewed the Application and

determined that the legal and factual bases set forth in the Application establish just cause for the

relief granted herein; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is APPROVED as set forth herein, effective as of the Petition Date.

       2.      Subject to the terms of this Order, the Debtors are authorized, pursuant to sections

327(a) and 328(a) of the Bankruptcy Code, Bankruptcy Rule 2014(a), and Local Rule 2014-1, to

retain and employ Ducera as their investment banker in accordance with the terms and conditions

set forth in the Engagement Letter, and to pay fees and reimburse expenses to Ducera on the terms

and at the times specified in the Engagement Letter.

       3.      The terms of the Engagement Letter attached hereto as Exhibit 1 are approved in

all respects except as limited or modified herein.

       4.      Ducera’s compensation, as set forth in the Engagement Letter, including, without

limitation, the Fee, and Expense Structure, is approved pursuant to section 328(a) of the

Bankruptcy Code. Ducera shall be compensated and reimbursed pursuant to section 328(a) of the

Bankruptcy Code in accordance with the terms of this Order and the Engagement Letter, subject

to the procedures set forth in the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and

any other applicable orders of this Court.

       5.      None of the fees payable to Ducera under the Engagement Letter shall constitute a

“bonus” or fee enhancement under applicable law.




                                                 2
       6.      Notwithstanding any provision to the contrary in this Order, the Application, the

Engagement Letter, or the Kaldenberg Declaration, the United States Trustee for the District of

Delaware (the “U.S. Trustee”) shall have the right to object to Ducera’s request(s) for interim and

final compensation and reimbursement of expenses based on the reasonableness standard provided

in section 330 of the Bankruptcy Code, not section 328(a) of the Bankruptcy Code. This Order and

the record relating to the Court’s consideration of the Application shall not prejudice or otherwise

affect the rights of the U.S. Trustee to challenge the reasonableness of Ducera’s fees under section

330 of the Bankruptcy Code. Accordingly, nothing in this Order or the record shall constitute a

finding of fact or conclusion of law binding the U.S. Trustee, on appeal or otherwise, with respect

to the reasonableness of Ducera’s fees and reimbursement expenses.

       7.      Ducera is granted a limited waiver of the information requirements relating to

compensation requests to the extent requested in the Application. Ducera shall include in its fee

applications, among other things, time records setting forth, in a summary format, a description of

the services rendered by each professional, and the amount of time spent on each date by each such

individual in rendering services on behalf of the Debtors in half-hour (0.5) increments, and

notwithstanding anything to the contrary in the Bankruptcy Code, the Bankruptcy Rules, the Local

Rules, orders of this Court, or any other guidelines regarding submission and approval of fee

applications, Ducera shall be excused from keeping time in tenth-hour (0.1) increments and shall

not be required to provide or conform to any schedule of hourly rates.

       8.      Notwithstanding anything to the contrary in the Application or any of its

attachments, no amounts shall be paid to Ducera absent an order of this Court approving a fee

application filed on notice to parties in interest in the Chapter 11 Cases under the procedures set

forth in any order establishing procedures for compensation and reimbursement of expenses of




                                                 3
professionals, provided that Ducera shall file monthly fee statements with time entries and requests

for reimbursement that comply with the Local Rule 2016-2, except as otherwise expressly set forth

in this Order, pursuant to the deadlines and other procedures specified for monthly fee statements

set forth in any order establishing procedures for compensation and reimbursement of expenses of

professionals.

         9.      In the event that, during the pendency of the Chapter 11 Cases, Ducera seeks

reimbursement for any attorneys’ fees and expenses, the invoices and supporting time records from

such attorneys shall be included in Ducera’s fee applications and shall be in compliance with the

Local Rule 2016-2, and shall be subject to the guidelines of the U.S. Trustee and approval of the

Court under the standards of sections 330 and 331 of the Bankruptcy Code, without regard to

whether such attorney has been retained under section 327 of the Bankruptcy Code and without

regard to whether such attorney’s services satisfy section 330(a)(3)(C) of the Bankruptcy Code;

provided, however, that Ducera shall only be reimbursed for any legal fees incurred in connection

with the Chapter 11 Cases to the extent permitted under applicable law and the decisions of this

Court.

         10.     The indemnification, contribution, and reimbursement provisions of the

Engagement Letter are approved, subject, during the pendency of the Chapter 11 Cases, to the

following:

         (a)     No Indemnified Persons (as defined in the Engagement Letter) shall be
                 entitled to indemnification, contribution, or reimbursement pursuant to the
                 Engagement Letter for services unless such services and the
                 indemnification, contribution, or reimbursement therefor are approved by
                 the Court;

         (b)     The Debtors shall have no obligation to indemnify any Indemnified Person,
                 or provide contribution or reimbursement to any Indemnified Person for any
                 claim or expense to the extent that is either: (i) judicially determined (the
                 determination having become final) to have arisen from any Indemnified
                 Person’s bad faith, gross negligence, willful misconduct, fraud, breach of


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               fiduciary duty, if any, or self-dealing; (ii) for a contractual dispute in which
               the Debtors allege the breach of Ducera’s contractual obligations unless the
               Court determines that indemnification, contribution, or reimbursement
               would be permissible under In re United Artists Theater Company,
               315 F.3d 217 (3d Cir. 2003), or (iii) settled prior to a judicial determination
               as to the exclusions set forth in clauses (i) and (ii) above, but determined by
               this Court, after notice and a hearing, to be a claim or expense for which
               such Indemnified Person should not receive indemnity, contribution, or
               reimbursement under the terms of the Engagement Letter as modified by
               this Order;

         (c)   If, before the earlier of (i) the entry of an order confirming a chapter 11 plan
               in the Chapter 11 Cases (that order having become a final order no longer
               subject to appeal) and (ii) the entry of an order closing the Chapter 11 Cases,
               any Indemnified Person believes that it is entitled to the payment of any
               amounts by the Debtors on account of the Debtors’ indemnification,
               contribution and reimbursement obligations under the Engagement Letter
               (as modified by this Order), including, without limitation, the advancement
               of defense costs, Ducera must file an application therefor in this Court, and
               the Debtors may not pay any such amounts to Ducera or any other
               Indemnified Person before the entry of an order by this Court approving the
               payment. This subparagraph (c) is intended only to specify the period of
               time under which the Court shall have jurisdiction over any request for fees
               and expenses by Ducera and the other Indemnified Persons for
               indemnification, contribution, or reimbursement, and not a provision
               limiting the duration of the Debtors’ obligation to indemnify the
               Indemnified Persons. All parties in interest, including, for the avoidance of
               doubt, the United States Trustee, shall retain the right to object to any
               demand by any Indemnified Person for indemnification, contribution, or
               reimbursement; and

         (d)   During the course of the Chapter 11 Cases, any limitation of liability
               provisions in the Engagement Letter shall have no force or effect.

         11.   The provisions of the Engagement Letter whereby the Debtors waive any actual or

potential conflicts of interest shall have no force or effect during the course of the Chapter 11

Cases.

         12.   The Debtors and Ducera are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order.




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       13.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry notwithstanding the possible applicability of Bankruptcy Rules 6004(g),

7062, or 9014.

       14.       The relief granted herein shall be binding upon any chapter 11 trustee appointed in

the Chapter 11 Cases, or upon any chapter 7 trustee appointed in the event of a subsequent

conversion of the Chapter 11 Cases to cases under chapter 7.

       15.       To the extent that this Order is inconsistent with the Engagement Letter, the terms

of this Order shall govern.

       16.       The Court retains jurisdiction over any and all matters arising from or related to the

implementation of this Order.




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   EXHIBIT 1

Engagement Letter
Ducera                                                                                                       Ducera Partners LLC
                                                                                                             11 Times Square
                                                                                                             36th Floor
                                                                                                             New York, NY 10036
                                                    June 30, 2023
                                                                                                             p (212) 671-9700
Confidential
                                                                                                             DuceraPartners.com
Yellow Corporation
501 Commerce Street
Suite 1120
Nashville, Tennessee 37203

Ladies and Gentlemen:

         This amended and restated engagement letter (this “Superseding Agreement”) confirms
the understanding and agreement between Ducera Partners LLC and its affiliates including, where
appropriate, Ducera Securities LLC (“Ducera”), and Yellow Corporation (“Yellow”), as set forth
herein. For purposes of this Superseding Agreement, Yellow Corporation and its controlled
affiliates and subsidiaries shall be referred to herein collectively as, the “Company.” This
Superseding Agreement also confirms the agreement of the Company to perform its obligations,
and make applicable acknowledgements, as expressly set forth herein. 1

       Section 1.     Scope of Engagement and Services. During the Term (as defined in
Section 8), Ducera shall provide financial advisory and investment banking services to the
Company relating to the services set forth herein:

                (a)   General Financial Advisory and Investment Banking Services. Ducera
shall: (1) familiarize ourselves with the business, operations, financial condition, financial
statements, business plans, forecasts, and capital structure of the Company; (2) assist with the
evaluation of the Company’s debt capacity and alternative capital structures in light of its projected
financial performance; and (3) provide such other advisory services as are customarily provided
in connection with the analysis and negotiation of any of the transactions contemplated by this
Agreement.

               (b)     Financing Services. 2 Ducera shall: (1) provide financial advice to the
Company in connection with the structure and effectuation of a Financing, identify potential
Investors and, at the Company’s request, contact and solicit such Investors; and (2) assist with the
arrangement of a Financing, including identifying potential sources of capital, assisting in the due
diligence process, and negotiating the terms of any proposed Financing; provided, however, it is

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                    The advisory services and compensation arrangements set forth in this Superseding Agreement
amends and restates in its entirety any and all prior agreements between the Company and Ducera; provided, however,
that Annex A of the Engagement Letter, dated February 6, 2023 (the “Original Engagement Letter”), shall continue
to be in full force and effect.

           2
                   For purposes of this Superseding Agreement, the term “Financing” shall mean a private issuance,
sale, or placement of the equity, equity-linked, preferred equity, including warrants or hybrid capital, convertible debt,
financing instruments, obligations, or debt (including, but not limited to, revolving credit and asset backed lending
facilities, and debtor-in-possession financing and any amendment or extension of the Company’s existing debt or
equity as of the date hereof) of the Company with one or more lenders and/or investors, acceptable to the Company
(each such lender or investor, an “Investor”).


                                                            1
understood that nothing contained herein shall constitute an express or implied commitment by
Ducera to act in any capacity or to underwrite, place or purchase any financing or securities, which
commitment shall only be set forth in a separate underwriting, placement agency or other
appropriate agreement relating to the Financing.

                (c)    Sale Services. 3 If requested by the Company, Ducera shall: (1) provide
financial advice to the Company in structuring, evaluating and effectuating a Sale, identify
potential counterparties and, at the Company’s written (email to be sufficient) request, contact and
solicit potential acquirers; and, assist with the arrangement and execution of a Sale, including
identifying potential buyers or parties in interest, assisting in the due diligence process, and
negotiating the terms of any proposed Sale.

               (d)     Restructuring Services. 4 If requested by the Company, Ducera shall: (1)
analyze various Restructuring scenarios and the potential impact of these scenarios on the value of
the Company and the recoveries of those stakeholders impacted by the Restructuring; (2) provide
strategic advice with regard to restructuring or refinancing the Company’s Existing Obligations;5
(3) provide financial advice and assistance to the Company in developing a Restructuring; (4) in
connection therewith, provide financial advice and assistance to the Company in structuring any

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                   For purposes of this Superseding Agreement, the term “Sale” shall mean any transaction or series
of transactions (other than a Restructuring) involving: (a) an acquisition, merger, consolidation or other business
combination pursuant to which the business or assets of the Company are, directly or indirectly, combined with, or
acquired by, another company; (b) the acquisition, directly or indirectly, by a buyer or buyers (which term shall include
a “group” of persons as defined in Section 13(d) of the Securities Exchange Act or 1934, as amended) of equity
interests or options, or any combination hereof, constituting a majority of the then-outstanding stock of the Company
or possessing a majority of the then-outstanding voting power of the Company (“Voting Stock”); (c) any other
purchase or acquisition, directly or indirectly, by a buyer or buyers or a material portion of the assets or Voting Stock
of the Company; or (d) the formation of a joint venture partnership or similar entity with the Company or direct
investment in the Company for the purposes of effecting a transfer of a majority of the Voting Stock of the Company
to a third party, a lease of assets with or without a purchase option, a merger, consolidation or other business
combination, a tender offer, or any similar transaction.

         4
                   For purposes of this Superseding Agreement, the term “Restructuring” shall mean any
restructuring, reorganization, modification, rescheduling and/or recapitalization (other than a Sale) (whether or not
pursuant to one or more proceedings voluntarily or involuntarily commenced under chapters 7 or 11 of title 11 of the
United States Code, 11 U.S.C. 101–1532 (as amended, the “Bankruptcy Code”) or any cases converted thereto (the
“Bankruptcy Cases” and the court having jurisdiction over such cases, the “Bankruptcy Court”)) of the Company’s
Existing Obligations (as defined herein) that is achieved through, without limitation: (a) a solicitation of material
waivers and consents from the holders of Existing Obligations; (b) rescheduling of the maturities of Existing
Obligations; (c) a material change in interest rates, repurchase, settlement, repayment, or forgiveness of Existing
Obligations; (d) a material amendment to the Existing Obligations; (e) conversion of Existing Obligations into equity;
(f) an exchange offer, or an amend-and-extend involving the issuance of new loans and/or securities in exchange for
Existing Obligations (including, for the avoidance of doubt, any general forbearance granted by holders of Existing
Obligations); (g) a sale of all, or a material portion, of the Company’s assets pursuant to §363 of the Bankruptcy Code
(a “363 Sale”); or (h) other similar transaction or series of transactions.

          5
                    For purposes of this Superseding Agreement, the term “Existing Obligations” shall mean the
material outstanding indebtedness of the Company including, but not limited to, bank debt, bond debt, asset back
lending facilities, term loans, credit facilities, trade claims, leases (both on and off-balance sheet), pension obligations,
litigation-related claims and obligations, other on and off-balance sheet indebtedness, workers’ compensation claims
and obligations, and other liabilities.


                                                             2
new securities to be issued under a Restructuring; and (5) assist the Company and/or participate in
negotiations with entities or groups affected by the Restructuring.

                (e)     Generally. The Company and Ducera acknowledge and agree that the
Company is under no obligation to consummate a Financing, a Sale, or a Restructuring as set forth
herein and, in the event the Company is unable or unwilling to do so, the Company shall have no
obligation or liability (other than the Terms and Conditions set forth in Annex A) to Ducera.
Notwithstanding anything contained in this Agreement to the contrary, Ducera shall have no
responsibility for designing or implementing any initiatives to improve the Company’s operations,
profitability, cash management or liquidity, or to provide any fairness, valuation, or solvency
opinions, or to make any independent evaluation or appraisal of any assets or liabilities of the
Company or any other party. Ducera makes no representations or warranties about the Company’s
ability to (1) successfully improve its operations, (2) maintain or secure sufficient liquidity to
operate its business, or (3) successfully complete a Financing, a Sale, or a Restructuring. Ducera
is retained under this Agreement solely to provide advice and services regarding the transactions
contemplated by this Agreement. Ducera’s engagement does not encompass providing “crisis
management.” The advisory services and compensation arrangements set forth in this Agreement
do not encompass other investment banking services, transactions or other specific services not set
forth in this Agreement that have been, or may be, undertaken by Ducera at the request of the
Company. The terms and conditions of any such investment banking services, including
compensation and arrangements related thereto, would be set forth in a separate written letter
agreement between Ducera and the Company.

        Section 2.      Compensation. Subject to Section 8, in consideration of Ducera’s services
as set forth in Section 1, Yellow agrees to pay Ducera:

                 (a)     For services rendered in accordance with Section 1(a),

                         (1).     a one-time non-refundable fee of $500,000, which shall be earned,
                                  due, and payable upon execution of this Agreement and shall be
                                  credited against the Financing Fee as set forth herein (the “Retainer
                                  Fee”); plus, 6

                         (2).     commencing as of June 1, 2023, the Company shall pay Ducera a
                                  non-refundable monthly cash fee of $200,000, due and payable on
                                  the first day of each and every month during the Term (as defined
                                  herein)(“Monthly Advisory Fee”).

               (b)    For services rendered in accordance with Section 1(b), a financing fee,
which shall be earned, due, and payable upon (and subject to the occurrence of) the closing of a
Financing (the “Financing Fee”). The Financing Fee shall be:




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                  For purposes of this Superseding Agreement, the Company and Ducera acknowledge and agree that
the Retainer Fee was paid upon consummation of the Original Engagement Letter.


                                                      3
                           (1).     1.0% of the face amount of senior secured debt (including, but not
                                    limited to, revolving credit and asset backed lending facilities)
                                    Raised; 7

                           (2).     3.0% of the face amount of any unsecured and junior secured debt
                                    Raised; and

                           (3).     5.0% of any equity capital, convertible, or hybrid capital, including
                                    warrants, or similar contingent equity securities Raised.

               (c)    For services rendered in accordance with Section 1(c) and Section 1(d), a
transaction fee, which shall be due and payable upon consummation of a Sale or a Restructuring
(the “Transaction Fee”). 8 The Transaction Fee shall be calculated as the greater of:

                           (1)      In the event of a Restructuring, a fee of $15,000,000 due and
                                    payable upon consummation of a Restructuring; and

                           (2)      In the event of a Sale, including through a 363 Sale, a fee equal to
                                    the Transaction Value multiplied by the Applicable Fee percentage
                                    reflected in the chart below: 9


         7
                   For purposes of this Superseding Agreement, the term “Raised” shall mean the total amount
committed by an Investor on the closing date of such Financing, in each case on terms acceptable to the Company,
irrespective as to whether or not the Company draws any or all of the amount committed by an Investor, and whether
or not the Company applies such amounts to finance any of its obligations or a transaction. For illustrative purposes,
in connection with any revolving credit or asset backed lending facilities, all fees set forth in Section 2 shall be
calculated based on the total amount of the facility, including any letters of credit, irrespective as to whether the
Company is permitted immediately to draw upon the full amount of facility, including any borrowing base, at the time
of commitment.
         8
                   For purposes of this Superseding Agreement, a Restructuring shall be deemed to have been
consummated upon: (a) the closing of the applicable transaction by which the Existing Obligations of the Company
are to be restructured or refinanced; or (b) in the case of a Court approved Restructuring, the date that the applicable
Chapter 11 plan of reorganization becomes effective in accordance with the terms and conditions thereof; provided,
that if the Restructuring is to be completed, in whole or in part, through a public exchange offer, pre-arranged or pre-
packaged Restructuring, or a 363 sale process (as defined herein): (i) 50% of the Restructuring Fee shall be earned
and shall be payable upon obtaining support (e.g. via a term sheet, restructuring support agreement or other agreement
in principle documenting they key terms of such prearranged Plan) from one or more of the Company’s key creditor
classes that is sufficient to justify launching such exchange offer or filing such pre-arranged or pre-packaged
Restructuring; and (ii) the remainder of such fees shall be earned and shall be payable upon consummation of the
Restructuring; provided, further, that in the event that Ducera is paid a Restructuring Fee in connection with a pre-
arranged or pre-packaged Restructuring, and such a Restructuring is not thereafter consummated, then such fee
previously paid to Ducera may be credited by the Company against any subsequent fee hereunder that becomes
payable by the Company to Ducera or, if such crediting does not equal 100% of the pre-paid portion of the
Restructuring Fee, then such fee shall be returned to the Company upon the termination of the Superseding Agreement.

         9
                   For purposes of this Superseding Agreement, the term “Transaction Value” shall mean (a) all cash
paid or payable to the Company or its shareholders (or holders of executive equity awards (“Awards”)) by the
purchaser in the Sale (including indemnity and net working capital escrow amounts); (b) the fair market value of all
notes, securities and other property issued or delivered or to be issued or delivered to the Company or its shareholders
(including holders of Awards) by the purchaser in the Sale; (c) liabilities, including all indebtedness for borrowed

                                                           4
                                                                                       Applicable Fee % for
                  Transaction Value Component                                           Transaction Value
                                                                                          Component10
 Transaction Value of less than $200 million                                                    2.000%
 Transaction Value between $200 million and $300 million                                        1.650%
 Transaction Value between $300 million and $400 million                                        1.500%
 Transaction Value between $400 million and $500 million                                        1.400%
 Transaction Value between $500 million and $600 million                                        1.300%
 Transaction Value between $600 million and $700 million                                        1.200%
 Transaction Value between $700 million and $800 million                                        1.150%
 Transaction Value between $800 million and $900 million                                        1.100%
 Transaction Value between $900 million and $1.0 billion                                        1.050%
 Transaction Value between $1.0 billion and $1.25 billion                                       1.000%
 Transaction Value between $1.25 billion and $1.50 billion                                      0.925%
 Transaction Value between $1.5 billion and $1.75 billion                                       0.850%
 Transaction Value between $1.75 billion and $2.0 billion                                       0.775%
 Transaction Value in excess of $2.0 billion                                                    0.700%


money of the Company or its Subsidiaries, pension liabilities, non-ordinary course guarantees, plus any amount
required to be shown on a consolidated balance sheet of the Company as of the most recent quarterly consolidated
balance sheet date for capitalized leases, in all cases provided that such liabilities, indebtedness or capital leases are
still outstanding as of the closing date of the Sale and directly or indirectly assumed, refinanced, extinguished or
consolidated by the purchaser; (d) amounts paid or payable to the Company’s direct or indirect security holders and
management under consulting, non-compete or similar agreements; (e) if the Sale includes the disposition of assets,
the value of net current assets of the business that is the target of the Sale that are not sold in the Sale; (f) the amount
of any extraordinary dividends or distributions paid to the Company’s shareholders (including Awards) in connection
with or contemplated by the Sale; and (g) if the Sale takes the form of a recapitalization, restructuring or similar
transaction, the fair market value of equity securities retained, directly or indirectly, by the Company’s shareholders
(including Awards) upon consummation of such a Sale (such securities and all securities received by such shareholders
being deemed to have been paid to such security holders in such a Sale). For purposes of computing Transaction
Value hereunder, non-cash consideration will be valued as follows: (x) publicly traded securities will be valued at the
average of their closing prices (as reported in The Wall Street Journal or other reputable source reasonably designated
by Ducera if The Wall Street Journal does not publish such closing prices) for the five trading days prior to the closing
of a Sale, (y) options will be valued using the treasury stock method without giving effect to tax implications, and (z)
the value of any cash held at the Company, the value of all installment or any contingent payments to be made to the
Company or its shareholders in a Sale (including Awards) or non-cash consideration will be determined in good faith
by and between Ducera and the Company.

         10
                 For illustrative purposes only, if the Company were to sell three (3) assets (Asset A for $100 million,
Asset B for $350 million, and Asset C for $500 million) as part of an in-court Restructuring, the fee in accordance
with Section 2(c)(2) would be $13.75 million, calculated as follows (a) $2 million (2% of $100 million), (b) $5.25
million ($350 million at 1.50%), (c) $6.5 million ($500 million at 1.3%).


                                                             5
                (d)    The Company shall receive a discount of $100,000 per month against the
greater of the Transaction Fee and the Financing Fee, for each month commencing after payment
of the sixth (6) Monthly Advisory Fee (the “Ducera Discount”); provided, however, that: (a) the
Ducera Discount shall only apply if any and all outstanding invoices for Monthly Advisory Fees
have been paid before, or in connection with, the consummation of a Transaction, Sale or
Financing; (b) that no Monthly Advisory Fee shall be credited more than once; and (c) in no event
shall the aggregate fees be reduced below zero.

                (e)     The Company and Ducera acknowledge and agree that the Company is
under no obligation to consummate a Financing as set forth herein and, in the event the Company
is unable or unwilling to do so, the Company shall have no obligation or liability (other than the
Terms and Conditions set forth in Annex A) to Ducera. The Company and Ducera further
acknowledge and agree that: (1) hours worked, (2) the results achieved, and (3) the ultimate benefit
to the Company of the work performed, in each case, in connection with this engagement, may be
variable, and that the Company and Ducera have taken such factors into account in setting the fees
hereunder. To the extent further services are requested by the Company, the Company and Ducera
acknowledge and agree to negotiate in good faith a reasonable scope of services and fee structure
in connection with any such further services provided by Ducera, depending on the size, scope,
and nature of the services to be provided.

        Section 3.      Expenses and Payments. In addition to the fees set forth in Section 2, the
Company agrees upon request to promptly reimburse Ducera for its reasonable and documented
out-of-pocket expenses, including, but not limited to, travel and transportation expenses, third
party research and telecommunication expenses, printing costs, courier and other shipping and
mailing costs and, in the case of advisors, limited to the reasonable expenses of Ducera’s one
external legal counsel, any other professional advisors approved by Yellow, and other reasonable
and documented out of pocket expenses incurred in connection with Ducera’s engagement or the
performance of services hereunder or any other assignments undertaken by Ducera at the
Company’s request; provided, however, that this Section 3 shall in no way affect the Company’s
obligations as set forth in Annex A hereto. All payments due under this Superseding Agreement
(including under Section 2 and Section 3 hereof) shall be made in U.S. dollars in immediately
available funds, free and clear of any set off, claim, and applicable taxes (with appropriate gross
up for any taxes withheld).

       Section 4.      Information and Announcements.

                 (a)   Ducera’s advice hereunder is intended solely for the benefit and use of the
Company, its affiliates and its counsel, and for the use by the Board and the Company (including
its officers and employees, in their respective capacities as directors, officers and employees of the
Company and not in their individual capacities) and its affiliates, and such advice may not be used
or relied upon for any other purpose or by any other person, including any security holder (in its
capacity as such), any other employee or creditor of the Company. No advice rendered by Ducera,
whether formal or informal, may be disclosed or described, in whole or in part, or otherwise
publicly referred to, without Ducera’s prior written consent (which consent may not be
unreasonably withheld, conditioned, denied or delayed), except: (1) to the Company’s affiliates
and other professional advisors (who may not further disclose such information or use it in any

                                                  6
way other than in connection with the services contemplated by this Superseding Agreement); or
(2) as Legally Required. 11 In addition, the terms of this Superseding Agreement may not be
publicly disclosed or described, in whole or in part, without Ducera’s prior written consent (which
consent may not be unreasonably withheld, conditioned, denied or delayed), except: (i) to the
Company’s affiliates and other professional advisors (who may not further disclose such
information or use it in any way other than in connection with the services or transactions
contemplated by this Superseding Agreement; (ii) as Legally Required or (iii) in connection with
the Company enforcing its rights and remedies hereunder. The Company shall be solely
responsible for the accuracy and completeness of, and Ducera shall have no liability with respect
to, any materials required to be disclosed by the Company to third parties or submitted by, or at
the direction of, the Company to any regulatory authorities in connection with any services
contemplated by this Superseding Agreement.

                 (b)     The Company shall make reasonable efforts to provide Ducera with (1) all
customary and reasonably available information and data relating to the Company as Ducera may
reasonably request for the purposes of rendering the services set forth in Section 1; (2) reasonable
access to the Company’s officers, directors, employees, counsel, accountants, and consultants
solely for the purpose of carrying out the services set forth in Section 1; and (3) all assistance
reasonably necessary to Ducera’s performance under this Superseding Agreement. The Company
recognizes and confirms that in performing its services hereunder, Ducera shall: (x) be entitled to
rely without investigation upon all available information, including information supplied to it by
or on behalf of the Company (including any public disclosures), any counterparty or their
respective officers, directors, employees, accountants, counsel and other representatives; (y) not
be responsible for the accuracy or completeness of, or have any obligations to verify, such
information received from the Company and its advisors or from potential investors, whether or
not Ducera makes any independent verification thereof; and (z) be entitled to assume, without
investigation, that any and all projections (financial or otherwise) provided to Ducera pursuant
hereto will have been prepared in good faith and will be based upon assumptions that are, in the
Company’s business judgment, reasonable. Ducera will not conduct any appraisal of assets or
liabilities of any party to a transaction or evaluate the solvency thereof under any state or federal
bankruptcy, insolvency, or similar law. The Company further represents and warrants to Ducera
that all written information (other than estimates, projections, budgets, forward looking statements,
and general market or industry data) made available to Ducera by you pursuant hereto (when taken
as hole and as supplemented) will (i) to the best of the Company’s knowledge, be complete and
correct in all material respects and (ii) will not contain any untrue statement of material fact or, to
the best of the Company’s knowledge, omit to state a material fact necessary to make the
statements therein, considering the circumstances under which they were made, not misleading.




         11
                  For purposes of this Superseding Agreement, the term “Legally Required” shall mean as requested
or required by law, judicial authority, regulation, rule, legal process, governmental agency or other regulatory authority
(including, without limitation, any stock exchange or self-regulatory organization), action, investigation or proceeding
(including, without limitation, as part of any interrogatory, court order, subpoena, administrative proceeding, civil
investigatory demand, in each case whether oral or written, or any other legal or regulatory process).


                                                            7
                 (c)   Ducera shall keep confidential any non-public information of the Company
and its affiliates made available to Ducera pursuant to, and in accordance with, the terms of the
Confidentiality Agreement, dated November 21, 2022, between the Company and Ducera (as
amended, modified, or supplemented from time to time, the “Confidentiality Agreement”).

        Section 5.     Terms and Conditions. Because Ducera will be acting as an independent
contractor to the Company in connection with this Superseding Agreement, and in consideration
of the benefits that the Company shall receive from Ducera’s advice, the Company and Ducera
agree to the Terms and Conditions contained in Annex A (the “Terms and Conditions”), which
Annex A is incorporated by reference into this Superseding Agreement and is an integral part
hereof.

       Section 6.      Acknowledgements and Waivers.

                (a)    The Company acknowledges and agrees that Ducera has been retained
solely to act as financial advisor in accordance with Section 1 and that no fiduciary or agency
relationship between the Company and Ducera has been created in respect of any transaction or
Ducera’s engagement hereunder, regardless of whether Ducera has advised or is advising the
Company on other matters. In connection with the engagement, Ducera is acting as an independent
contractor, with obligations owing solely to the Company and not in any other capacity. Except
as expressly contemplated by the Terms and Conditions set forth in Annex A, neither the
engagement nor this Superseding Agreement is intended to confer rights upon any persons not a
party hereto (including security holders, employees, or creditors of the Company).

                (b)     This Superseding Agreement shall be binding upon and inure to the benefit
of the Company, Ducera, and their respective successors and assigns. No party hereto may assign
or delegate any of its rights or obligations without the prior written consent of the other parties,
such consent not to be unreasonably withheld. If any term, provision, covenant, or restriction
herein (including the Terms and Conditions as set forth in Annex A) is held by a final non-
appealable judgment of a court of competent jurisdiction to be invalid, void, or unenforceable or
against public policy, the remainder of the terms, provisions and restrictions contained herein shall
remain in full force and effect and shall in no way be modified or invalidated.

               (c)     Ducera and its affiliates and certain of their respective members, officers,
managers, directors, and employees, as well as certain funds in which they may have financial
interests, may from time to time acquire, hold, or make direct or indirect investments in, or
otherwise finance, a wide variety of companies, including parties that may constitute
counterparties to the Company. In the event that Ducera becomes aware of any direct material
investment or financing arrangement in a counterparty to a proposed transaction of Ducera or any
of its employees on the coverage team (excluding any funds managed by third parties which are
not known to have accumulated significant positions in securities issued by such counterparties),
Ducera shall promptly inform the Company of such investment or financing arrangement. Further,
Ducera agrees that it will use any information received from the Company solely for the purposes
of this engagement, and not for any other purpose.




                                                 8
                 (d)   Subject to Section 6(c), the Company acknowledges and agrees that Ducera
and its affiliates may be engaged in a broad range of transactions involving interests that differ
from those of the Company, and that Ducera has no obligation to disclose such interests and
transactions to the Company. The Company waives, to the fullest extent permitted by law, any
claims it may have based on any actual or potential conflicts of interest that may arise or result
from Ducera’s engagement by the Company hereunder, or any claims it may have against Ducera
for breach of fiduciary duty or alleged breach of fiduciary duty and agrees that Ducera shall have
no liability (whether direct or indirect) to the Company in respect of such a fiduciary duty claim
or to any person asserting a fiduciary duty claim on behalf of or in right of the Company, including
the Company’s security holders, employees, or creditors in each case, arising during the Term.
The Company understands that Ducera is not undertaking to provide any legal, regulatory,
compliance, accounting, or tax advice in connection with the engagement, and that Ducera’s role
in any due diligence will be limited solely to performing such review as it deems advisable to
support its own analysis and shall not be on behalf of or for the benefit of the Company.

               (e)     To help the government fight the funding of terrorism and money
laundering activities, federal law requires all financial institutions to obtain, verify and record
information that identifies each entity or person that engages Ducera’s services. Pursuant to such
requirements, Ducera may from time-to-time request copies of documents that would be necessary
to comply with the foregoing federal law. The Company further acknowledges and agrees, in
accordance with 31 CFR § 1010.230 and, to the extent applicable and as Legally Required, to
complete the Certification Regarding Beneficial Owners of Legal Entity Customers in connection
with the execution of this Superseding Agreement.

        Section 7.      Governing Law; Submission to Jurisdiction; Waiver of Jury Trial. All
aspects of the relationship created by this Superseding Agreement and any other agreements
relating to Ducera’s engagement, shall be governed by and construed in accordance with the laws
of the State of New York, applicable to contracts made and to be performed therein and, in
connection therewith, the parties hereto consent to the exclusive jurisdiction of the Supreme Court
of the State of New York sitting in New York County or the United States District Court for the
Southern District of New York and agree to venue in such courts. Notwithstanding the foregoing,
solely for purposes of enforcing the Company’s obligations hereunder, the Company consents to
personal jurisdiction, service and venue in any court proceeding in which any claim relating to or
arising out of Ducera’s engagement is brought by or against any Indemnified Person. DUCERA
AND THE COMPANY (ON ITS OWN BEHALF AND, TO THE MAXIMUM EXTENT
PERMITTED BY LAW, ON BEHALF OF ITS SECURITY HOLDERS AND CREDITORS)
EACH HEREBY AGREES TO WAIVE ANY RIGHT TO TRIAL BY JURY WITH RESPECT
TO ANY CLAIM, COUNTERCLAIM OR ACTION ARISING OUT OF OR RELATING TO
THIS AGREEMENT OR DUCERA’S ENGAGEMENT.

       Section 8.      Termination.

               (a)     Ducera’s engagement hereunder shall commence on the date hereof and
shall continue until the earlier of: (1) termination by either party hereto upon ten (10) business
days’ prior written notice to the other party; and (2) consummation of a Financing, a Sale, or a
Restructuring (the “Term”).


                                                 9
                (b)     In the event of any termination of Ducera’s engagement hereunder, any fees
set forth in Section 2 paid or due to be paid for services rendered prior to termination shall remain
the property of Ducera. No termination of Ducera’s engagement hereunder shall affect the
Company’s obligations pursuant to the Terms and Conditions or its obligations to reimburse
Ducera for fees and expenses, payable or incurred in accordance with Section 2 and/or Section 3
prior to the termination of this Superseding Agreement, and the Terms and Conditions set forth in
Annex A shall survive any termination of this Superseding Agreement.

                (c)     In the event of any termination of Ducera’s engagement hereunder (other
than (1) by Ducera for any reason; or (2) by the Company based on actions taken, or failures to
act, by Ducera, which actions (x) remain unremediated by Ducera within ten (10) business days
after written notice from the Company of its intention to terminate this Superseding Agreement on
the basis of such actions or failure to act and specifying in reasonable detail the basis for such
termination; and (y) materially or adversely impacts the Company), Ducera shall continue to be
entitled to the full amount of the fees set forth in Section 2 in the event that at any time prior to
the expiration of Tail Period (as defined herein), the Company consummates a Financing, a Sale,
or a Restructuring. 12

        Section 9.    Entire Agreement; Amendments.               This Superseding Agreement,
including Annex A, constitutes the entire agreement between Ducera and the Company with
respect to the engagement and supersedes all other oral and written representations, understandings
or agreements relating to this engagement. No alteration, waiver, amendment, change or
supplement hereto shall be binding or effective unless the same is set forth in writing signed by a
duly authorized representative of each party.

                                      *                 *                *

                                   [SIGNATURE PAGE FOLLOWS]




        12
                   For purposes of this Superseding Agreement, the term “Tail Period” shall mean any time prior to
the expiration of twelve (12) months after any such termination.


                                                       10
       We are pleased to accept the engagement and look forward to working with you. Please
confirm your agreement with the foregoing (including the attached Terms and Conditions) by
signing each of the enclosed copies of this Superseding Agreement and returning to us one fully
signed copy.

                                               Very truly yours,

                                               DUCERA PARTNERS LLC and, where
                                                 appropriate, its affiliates, including
                                                 Ducera Securities LLC




                                                      Cody Kaldenberg
                                               By: __________________ _______
                                               Name: Cody L. Kaldenberg
                                               Title: Partner
                       January 3,

 Accepted, Agreed, and Effective as of June
 30, 2023:

YELLOW CORPORATION and all direct
  and indirect subsidiaries and their
  respective affiliates



 By: ___________________________
 Name: Darren D. Hawkins
 Title: Chief Executive Officer




 By: ___________________________
 Name: Daniel L. Olivier
 Title: Chief Financial Office




                                              11
                           TERMS AND CONDITIONS – ANNEX A

        In further consideration of the engagement Ducera Partners LLC and its affiliates
including, where appropriate, Ducera Securities LLC (collectively, “Ducera”) to render corporate
finance and other investment banking advisory services to Yellow Corporation (collectively with
its subsidiaries and controlled affiliates, the “Company”) pursuant to the Superseding Agreement
to which these Terms and Conditions are attached, the Company and Ducera hereby agree that
these Terms and Conditions shall be incorporated by reference into the Superseding Agreement
and shall form an integral part thereof. Capitalized terms used but not defined herein shall have
the same meanings specified in the Superseding Agreement and any references to this Superseding
Agreement or the engagement shall mean the Superseding Agreement together with these Terms
and Conditions.

       A.       In consideration of the benefits that the Company will receive from Ducera’s
advice, the Company agrees to indemnify and hold harmless Ducera, its affiliates, the respective
members, managers, directors, officers, partners, agents and employees of Ducera and its affiliates,
and any person controlling Ducera and its affiliates (collectively, “Indemnified Persons”) from
and against, and the Company agrees that no Indemnified Person shall have any liability (whether
direct or indirect, in contract or tort or otherwise) to the Company or its controlled affiliates,
security, holders or creditors (in their respective capacities as such) for, any actual losses, claims,
expenses (limited in the case of an advisor to the reasonable attorneys’ fees of one outside counsel),
damages or liabilities (including actions or proceedings in respect thereof) (collectively,
“Losses”):

               1.      Related to or arising out of (a) the Company’s actions or failures to act
                       (including statements or omissions made or information provided by the
                       Company or its agents) in connection with the engagement; or (b) actions
                       or failures to act by an Indemnified Person in connection with this
                       engagement with the Company’s consent, or otherwise in reasonable
                       reliance on the Company’s direction, actions, or failures to act in each case
                       in connection with the engagement; or,

               2.      Otherwise related to or arising out of the engagement, Ducera’s
                       performance thereof or any other services Ducera is asked to provide to the
                       Company pursuant to this Superseding Agreement (in each case, including
                       activities prior to the date hereof), except that this Annex A(A) shall not
                       apply to any Losses (nor shall the limitation of liability above apply) due to
                       a material breach of this Superseding Agreement or the Confidentiality
                       Superseding Agreement or to the extent that they are finally determined by
                       a court of competent jurisdiction to have resulted from the bad faith, willful
                       misconduct, or gross negligence of an Indemnified Person or any of their
                       officers, directors, employees, accountants, counsel and other
                       representatives.

       B.      If such indemnification is for any reason not available (other than pursuant to
situations covered by Annex A(A)(2)), or is insufficient to hold an Indemnified Person harmless,
the Company agrees to contribute to the Losses involved in such proportion as is appropriate to
reflect the Relative Economic Interests (as defined herein) of the Company, on the one hand, and
of Ducera, on the other hand, with respect to the engagement; or, if such allocation is determined
by a court of competent jurisdiction to be unavailable, in such proportion as is appropriate to reflect
other equitable considerations such as the relative fault of the Company on the one hand, and of
Ducera on the other hand; provided, however, that, to the extent permitted by applicable law, the
Indemnified Persons shall not be responsible for Losses which in the aggregate exceed the amount
of all fees actually received by Ducera from the Company in connection with the engagement.

       C.      The “Relative Economic Interests” of the Company, on the one hand, and Ducera,
on the other hand, with respect to the engagement shall be deemed to be in the same proportion as
(1) the total value paid or proposed to be paid or received or proposed to be received by the
Company and its security holders, as the case may be, pursuant to the transaction(s) contemplated
by the engagement, whether or not consummated, bears to (2) all fees actually received by Ducera
in connection with the engagement. Without limiting the generality of the foregoing, in no event
shall the Company have any liability to any Indemnified Person nor shall any Indemnified Person
have any liability to the Company or any of its affiliates or security holders (in their respective
capacities as such), in each case, for any consequential, special, exemplary or punitive damages
arising out of the engagement or the performance thereof (other than such damages which the
Company is required to pay to a third party).

        D.       If any Indemnified Person becomes involved in any capacity in any action, claim,
suit, investigation or proceeding, actual or threatened, brought by or against any person, including
security holders of the Company, in connection with or as a result of the engagement, the Company
also agrees to reimburse such Indemnified Persons for their reasonable and documented expenses
(including, without limitation, reasonable and documented legal fees and other costs and out-of-
pocket expenses incurred in connection with investigating, preparing for and responding to third-
party subpoenas or enforcing the engagement by one set of counsel and local counsel, as
applicable, which, in the case of advisors, is limited to the reasonable expenses of Ducera’s one
external legal counsel,) as such expenses are incurred; and, provided further, that such party
receiving reimbursement of expenses shall return any such reimbursements in the event that a court
of competent jurisdiction finally determines that indemnification is unavailable in connection with
situations covered by the exception set forth in Annex A(A)(2).

        E.      Ducera shall not be liable for any settlement of any claim, action, suit, investigation
or proceeding effected without its respective consent, if such consent is required. The Company
will not, without Ducera’s prior written consent (which consent shall not be unreasonably
withheld, conditioned, or delayed), settle, compromise, consent to the entry of any judgment in or
otherwise seek to terminate any claim, action, suit, investigation or proceeding in respect of which
it is foreseeable that indemnification may be sought hereunder, whether or not an Indemnified
Person is a party thereto, unless such settlement, compromise, consent or termination includes an
unconditional release of each Indemnified Person from any liabilities arising out of such claim,
action, suit, investigation or proceeding. The Company will not permit any settlement or
compromise to include, or consent to the entry of any judgment that includes, a statement as to, or
an admission of fault, culpability, or a failure to act by or on behalf of an Indemnified Person,
without such Indemnified Person’s prior written consent (which consent shall not be unreasonably
withheld, conditioned, or delayed).
       F.       The Company’s obligations pursuant to these Terms and Conditions shall inure to
the benefit of any successors, assigns, heirs, and personal representatives of each Indemnified
Person and are in addition to any rights that each Indemnified Person may have at common law or
otherwise. Prior to entering into any agreement or arrangement with respect to, or effecting, any
extraordinary transaction that is reasonably likely to impair the Company’s ability to meet its
current and potential future obligations pursuant to these Terms and Conditions, the Company will
notify Ducera in writing thereof and, if requested by Ducera, shall use commercially reasonable
efforts to arrange alternative means of providing for the obligations of the Company set forth
herein upon terms and conditions reasonably satisfactory to Ducera. For the avoidance of doubt,
the preceding sentence shall not trigger any further obligation on the part of the Company in any
transaction in which the Company’s obligations under the engagement are assumed by a successor
company by operation of law, including through merger.

       G.       Reasonably promptly after receipt by an Indemnified Person of notice of its
involvement in any action, claim, suit, investigation or proceeding, Ducera shall, if a claim for
indemnification in respect thereof is to be made against the Company under these Terms and
Conditions, notify the Company of such involvement to the extent permitted by applicable laws
and regulations. Failure by Ducera to so notify the Company, if permitted by applicable laws and
regulations, shall relieve the Company from the obligations to indemnify or otherwise to Ducera
under these Terms and Conditions only to the extent that the Company suffers actual and material
prejudice as a result of such failure. If any Indemnified Person shall be subject to any action or
proceeding brought by a third party that is also brought against the Company, the Company,
following its acknowledgment of its obligation to indemnify such Indemnified Person, shall be
entitled to assume the defense of any such action or proceeding with counsel reasonably
satisfactory to the Indemnified Person. Upon assumption by the Company of the defense of any
such action or proceeding, the Indemnified Person shall have the right to participate in such action
or proceeding and to retain its own counsel, but the Company shall not be liable for any legal
expenses of other counsel subsequently incurred by such Indemnified Person in connection with
the defense thereof unless: (1) the Company has agreed in writing to pay such fees and expenses;
(2) the Company shall have failed to employ counsel reasonably satisfactory to the Indemnified
Person in a timely manner; or (3) the Indemnified Person shall have been advised by counsel that
there are actual or potential conflicting interests between the Company and the Indemnified
Person, including situations in which there are one or more legal defenses available to the
Indemnified Person that are different from or additional to those available to the Company;
provided, however, that the Company shall not, in connection with any one such action or
proceeding or separate but substantially similar actions or proceedings arising out of the same
general allegations, be liable for the fees and expenses of more than one separate firm of attorneys
at any time for all Indemnified Persons including Ducera, except to the extent that local counsel,
in addition to its regular counsel, is required in order to effectively defend against such action or
proceeding and except as may be required pursuant to Annex A(G)(3).

      H.      The obligations of the parties hereto pursuant to these Terms and Conditions shall
survive any expiration or Term of the Superseding Agreement or Ducera’s engagement hereunder.
